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                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF NEW JERSEY


     In Re:                                              Case No. 23-19865 (JKS)

     WEWORK INC., et al.,                                Chapter 11

                Debtors.1                                Hon. John K. Sherwood



                        OBJECTION OF ADAM NEUMANN ET AL. TO
              DEBTORS’ MOTION FOR ENTRY OF INTERIM AND FINAL ORDERS
      (I) AUTHORIZING THE DEBTORS TO OBTAIN NEW POSTPETITION FINANCING,
              (II) GRANTING LIENS AND PROVIDING CLAIMS SUPERPRIORITY
      ADMINISTRATIVE EXPENSE STATUS, (III) MODIFYING THE AUTOMATIC STAY,
        (IV) SCHEDULING A FINAL HEARING, AND (V) GRANTING RELATED RELIEF

 1
       A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website
       of the Debtors’ claims and noticing agent at https://dm.epiq11.com/WeWork. The location of
       Debtor WeWork Inc.’s principal place of business is 12 East 49th Street, 3rd Floor, New York,
       NY 10017; the Debtors’ service address in these chapter 11 cases is WeWork Inc. c/o Epiq
       Corporate Restructuring, LLC, 10300 SW Allen Blvd., Beaverton, OR 97005.


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         Adam Neumann and Nazare Asset Management, LP, parties-in-interest 2 in the above-

 captioned chapter 11 cases of WeWork, Inc. and its affiliated debtors and debtors in possession

 (collectively, the “Debtors,” the “Company,” or “WeWork”), on behalf of themselves and

 Flow Global Holdings LLC (“Flow,” and collectively with Flow and potential co-investors, the

 “Flow Group”), by and through their undersigned counsel, hereby file this objection to the

 Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to Obtain New

 Postpetition Financing, (II) Granting Liens and Providing Claims Superpriority Administrative

 Expense Status, (III) Modifying the Automatic Stay, (IV) Scheduling a Final Hearing, and

 (V) Granting Related Relief [ECF No. 1804] (the “DIP Motion”),3 and, in support thereof,

 respectfully state as follows.

                                   PRELIMINARY STATEMENT

         1.         The Bankruptcy Code authorizes a debtor in possession to obtain credit under

 section 364 to finance operations during bankruptcy. That is largely not the relief sought by the

 Debtors here. For reasons that remain hidden, the Debtors improperly attempt to use section 364

 to sanction their entry into a novel “Exit DIP New Money Facility.” The “new money” will not

 fund the bankruptcy estate, but rather will capitalize the Reorganized Debtors pursuant to the Plan.

 On or “immediately prior” to emergence, the Debtors seek authority for the Reorganized Debtors

 to “borrow” $400 million in exchange for substantially all of the Reorganized Debtors’ equity to

 be issued pursuant to the Plan. Such transformative change, however, cannot be accomplished

 through section 364 and its deferential “business judgment” standard because that statute only


 2
     Mr. Neumann is a creditor of certain of the Debtors. See Proofs of Claim Nos. 87, 88.
     Nazare Asset Management, LP is a shareholder of the Debtors. Respondents accordingly have
     the right to be heard on any issue in these cases under section 1109(b) of the Bankruptcy Code.
 3
     Unless otherwise specified, capitalized terms used and not defined herein shall bear the
     meanings ascribed to such terms in the DIP Motion.

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 authorizes a debtor in possession to incur postpetition loans during the case. Including a request

 to sell equity capital for Reorganized WeWork under the guise of section 364 is the latest effort

 by the Debtors to disguise the true nature of the Plan—a sale of Reorganized WeWork at a discount

 to fair value without any market test. With the confirmation hearing scheduled just 23 days after

 this purported emergency “DIP” hearing, the Debtors are simply trying to use section 364 of the

 Bankruptcy Code to cement the terms of the Plan or sidestep the confirmation requirements of

 section 1129 altogether.

         2.         Pursuant to the DIP Motion, the Debtors seek entry of interim and final orders

 “authorizing the Debtors . . . to obtain postpetition financing and to guarantee the obligations . . .

 with superpriority, senior secured, and priming debtor-in-possession term loan credit facilities in

 the aggregate principal amount not to exceed $450 million.” DIP Motion ¶ 1. The purported

 “debtor-in-possession term loan credit facilities” that the Debtors seek permission to incur come

 in two shapes and sizes: $50 million in term loans “to be made immediately available” upon entry

 of the Court’s order (the “Interim DIP New Money Facility”) and $400 million “to be made

 available on or immediately prior to emergence . . . which shall be equitized into the common

 stock of the reorganized Debtors pursuant to the Plan.” Id. (emphasis added). As the Debtors’

 own description makes clear, the latter of these two supposed “credit facilities” 4—which is 89%

 of the relief sought—will not be “available” to the Debtors until the Debtors exit bankruptcy and

 will immediately be “equitized into the common stock of the reorganized Debtors.” Id.; see also

 id. ¶ 29 (describing the Exit DIP New Money Facility as a “commitment to provide an additional




 4
     The Flow Group does not endorse any definition or term used by the Debtors to the extent that
     they purport to recast the true nature of the sale being conducted pursuant to the Plan as a
     “debt-for-equity” exchange and uses them solely for the sake of avoiding more confusion.

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 $400 million of financing to support the Company’s go-forward business plan that will equitize

 at emergence”) (emphasis added).

         3.         In other words, the “Exit DIP New Money Facility” is not a loan to the debtors in

 possession; indeed, it is not even a loan at all. Rather, it is a $400 million investment of equity

 capital in the Reorganized Debtors—a fact that the Debtors acknowledged in their first amended

 plan of reorganization when they previously defined the same $400 million investment—no doubt

 in a way consistent with the true intent of the parties—as the “Exit Equity Commitment.” See ECF

 No. 1690 at 14. But the Debtors—eager to rush through the sale of Reorganized WeWork at a

 massive discount to fair value—then tried to disguise this equity investment by packaging it as a

 purported form of debtor-in-possession financing on the eve of the disclosure statement hearing.

 Emboldened by conditional approval of the Disclosure Statement, the Debtors now seek approval

 of a sale that can only be accomplished through a chapter 11 plan under the guise of the

 DIP Motion.5

         4.         But the Debtors cannot evade reality—or the law—by a contrived manipulation of

 defined terms. The “Exit DIP New Money Facility” is in truth an exit equity commitment, not a

 DIP loan. As such, it cannot be approved pursuant to the statutory framework applicable to bona

 fide debtor-in-possession financing. While a reorganized debtor can issue equity to fund its go-

 forward business pursuant to a plan, section 364 by its plain terms only authorizes a “trustee” (or



 5
     Notwithstanding the Court’s conditional approval of the Debtors’ Disclosure Statement, the
     Flow Group believes that the Debtors’ Disclosure Statement lacked (and still lacks) adequate
     information about the Plan and that the Plan is patently unconfirmable. The Flow Group
     intends to object to approval of the Disclosure Statement on a final basis as well as to
     confirmation of the Debtors’ Plan which, among other things, proposes to make distributions
     to unsecured creditors notwithstanding that such creditors will not be solicited, is infeasible,
     and violates the absolute priority rule. The Flow Group reserves the right, if necessary, to
     serve discovery in support of its anticipated objections.

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 debtor in possession) to obtain “credit.” The Debtors thus have no legal grounds to raise exit

 equity capital under section 364, and the DIP Motion should accordingly be denied as to the Exit

 DIP New Money Facility.6

         5.         The DIP Motion should be denied as to the Exit DIP New Money Facility for the

 separate reason that the proposed facility is an impermissible sub rosa plan of reorganization. As is

 now known (thanks in part to the Flow Group’s efforts), the centerpiece of the Debtors’ Plan is a

 sale of Reorganized WeWork to an “operating partner,” Yardi Systems, Inc. (“Yardi”) (which has

 agreed to cut in certain prepetition secured creditors, including its wholly owned subsidiary Cupar

 Grimmond, LLC (“Cupar”)) at a substantial discount to fair value. Yet pursuant to the DIP

 Motion, the Debtors propose to lock in this core feature of the Plan outside of the confirmation

 process and subject only to the lax business judgment standard. But a debtor cannot use the limited

 authority provided by section 364 to lock in a plan of reorganization. Indeed, a well-established

 body of caselaw protects against precisely that outcome. Because the Exit DIP New Money

 Facility is indisputably such an arrangement, the Court should deny the DIP Motion as to that

 facility.

         6.         Finally, the Court should not enter an interim order approving the Debtors’ entry

 into the DIP New Money Facilities because the DIP Motion was not properly noticed. The Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rules for the U.S.


 6
     The Flow Group objects to the Debtors’ entry into the $50 million Interim DIP New Money
     Facility on other grounds, namely, the failure of the Debtors to comply with Federal Rule of
     Bankruptcy Procedure 4001(c)(1)(A)’s requirement that the proposed credit agreement must
     have been filed together with the DIP Motion and the failure to demonstrate that the Interim
     DIP New Money Facility is “necessary to avoid immediate and irreparable harm” pending a
     final hearing—an interim DIP order cannot approve anything more than that. See Fed. R.
     Bankr. P. 4001(c)(2). From an initial review of the budget filed at 7:00 p.m. ET the night
     before this objection was due, see ECF No. 1840, it appears the Debtors will be unable to meet
     their evidentiary burden.

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 Bankruptcy Court for the District of New Jersey (the “Local Rules”) require the Debtors to file a

 copy of the proposed credit agreement together with any motion to obtain postpetition credit.

 The Debtors failed to do so and even if they do so on the eve of the hearing, that does not comply

 with the rules or due process. At a minimum, this means that any “premiums, fees, or interest”

 contained in those documents cannot be approved even if the Court authorizes an interim

 borrowing up to some amount to “avoid immediate and irreparable harm” pending a final hearing.

 Moreover, because the Debtors will not obtain any funds under the Exit DIP New Money Facility

 until they emerge from bankruptcy, no exigencies could possibly justify approving the Debtors’

 entry into that facility—even on an interim basis—with inadequate notice.

         7.         For these reasons and those set forth below, the DIP Motion should be denied.

                                               OBJECTION

 I.      Section 364 Does Not Authorize The Debtors To Obtain Exit Financing

         8.         Pursuant to the DIP Motion, the Debtors seek approval under section 364 of the

 Bankruptcy Code to enter into the DIP New Money Facilities. See, e.g., DIP Motion ¶ 25 (“Section

 364 of the Bankruptcy Code authorizes a debtor to obtain secured or superpriority financing.”); id.

 ¶ 30 (“The Debtors propose to obtain financing under the DIP New Money Facilities by providing

 security interests . . . and superpriority claims . . . pursuant to sections 364(c) and 364(d) of the

 Bankruptcy Code.”); id. ¶ 36 (“[T]he relief requested pursuant to section 364(d)(1) of the

 Bankruptcy Code is appropriate.”). But section 364 does not authorize a debtor to obtain exit

 financing, and thus provides no basis for this Court to approve the DIP New Money Exit Facility.

         9.         Section 364(c) provides that “[i]f the trustee is unable to obtain unsecured credit

 . . . the court, after notice and a hearing, may authorize the obtaining of credit or the incurring of

 debt . . . with priority over any or all administrative expenses of the kind specified in section 503(b)

 . . . of this title; [ ] secured by a lien on property of the estate that is not otherwise subject to a lien;

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 or [ ] secured by a junior lien on property of the estate that is subject to a lien.” 11 U.S.C. § 364(c)

 (emphasis added). Section 364(d) further provides, in relevant part, that “[t]he court, after notice

 and a hearing, may authorize the obtaining of credit or the incurring of debt secured by a senior or

 equal lien on property of the estate that is subject to a lien only if—[ ] the trustee is unable to

 obtain such credit otherwise; and [ ] there is adequate protection of the interest of the holder of the

 lien on the property of the estate on which such senior or equal lien is proposed to be granted.”

 Id. § 364(d) (emphasis added). Section 364(c) and (d) thus authorize a bankruptcy trustee (or

 debtor in possession) to obtain “credit” or incur “debt,” and allow the debtor to secure such debt

 with a lien “on the property of the estate.”

         10.        This grant of authority plainly does not authorize a debtor to issue shares to fund

 its go-forward business plan after it has exited bankruptcy. As one court has aptly explained,

 “[s]ection 364 is designed to provide a mechanism for the trustee or debtor-in-possession to obtain

 credit to finance the operation of the business of the debtor or to fund the administering of the

 bankruptcy case, not to finance post-confirmation operations after the property of the estate has

 vested in the reorganized debtor.” In re Aspen Club & Spa, LLC, 2020 WL 4251761, at *11

 (B.A.P. 10th Cir. July 4, 2020). Indeed, that section 364 only authorizes a trustee or debtor in

 possession to obtain credit is confirmed “[b]y its express terms,” which “refer only to obtaining of

 credit by the bankruptcy trustee, or Debtors-in-Possession . . . and refer to incurring debt secured

 by a lien on ‘property of the estate.’” In re City of Detroit, 524 B.R. 147, 276 (Bankr. E.D. Mich.

 2014). Upon their exit from bankruptcy, the Debtors will “no longer [be] Debtors-in-Possession,”

 id., and “no property [will] remain[ ] in the estate to which a lien can attach,” In re SAI Holdings

 Ltd., 2012 WL 3201893, at *7 (Bankr. N.D. Ohio Aug. 3, 2012); see 11 U.S.C. § 1141(b)

 (“[T]he confirmation of a plan vests all of the property of the estate in the debtor.”). Accordingly,



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 because the Exit DIP New Money Facility is in reality a $400 million equity investment in the

 Reorganized Debtors—and not a loan to the Debtors to fund their chapter 11 cases—the Debtors

 cannot invoke section 364 in support of their entry into the facility. See In re City of Detroit, 524

 B.R. at 276 (“The City argues that § 364 does not apply to post-confirmation exit financing. The

 Court agrees.”); In re Les Ruggles & Sons, Inc., 222 B.R. 344, 345 (Bankr. D. Neb. 1998)

 (concluding that section 364 “does not apply to post-confirmation borrowings”); In re Hickey

 Props., Ltd., 181 B.R. 173, 174 (D. Vt. 1995) (same).

         11.        The Debtors cannot obtain approval of the Exit DIP New Money Facility under the

 auspices of section 364 and have identified no other provision of the Bankruptcy Code that

 authorizes the relief they seek. The DIP Motion should accordingly be denied as to the Exit DIP

 New Money Facility.

 II.     The Exit DIP New Money Facility Is An Impermissible Sub Rosa Plan

         12.        The Court should deny the DIP Motion as to the Exit DIP New Money Facility for

 the separate reason that the facility is an improper sub rosa plan of reorganization. It is well

 established that “[a] bankruptcy court cannot, under the guise of section 364, approve financing

 arrangements that amount to a plan of reorganization but evade confirmation requirements.” In re

 Latam Airlines Grp. S.A., 620 B.R. 722, 815-16 (Bankr. S.D.N.Y. 2020). Accordingly, “[w]hen a

 transaction . . . in bankruptcy has the effect of ‘dictating some of the terms of any future

 reorganization plan,” the transaction is “impermissible” because it “short circuits the requirements

 of Chapter 11 . . . by establishing the terms of the plan sub rosa.” In re Energy Future Holdings

 Corp., 648 F. App’x 277, 284-85 (3d Cir. 2016). To determine whether a proposed financing

 arrangement improperly dictates the terms of a plan, courts “look to whether the proposed terms

 would prejudice the powers and rights that the Code confers for the benefit of all . . . by granting

 the lender excessive control over the debtor or its assets as to unduly prejudice the rights of other

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 parties in interest.” In re Laffite’s Harbor Dev. I, LP, 2018 WL 272781, at *3 (Bankr. S.D. Tex.

 Jan. 2, 2018).

         13.        Here, there can be no question that the Exit DIP New Money Facility grants the

 DIP New Money Lenders “excessive control over the debtor or its assets as to unduly prejudice

 the rights of other parties in interest,” id., and “dictat[es] some of the terms of any future

 reorganization plan,” In re Energy Future Holdings, 648 F. App’x at 284. As set forth above, the

 Exit DIP New Money Facility is not a bona fide loan to carry the Debtors through their chapter 11

 cases; rather, it is a sale of substantially all of the equity of Reorganized WeWork to the DIP New

 Money Lenders. Cf., e.g., Laffite, 2018 WL 272781, at *3 (“The size of the proposed transaction

 in relation to all estimates of value of the property is sufficiently large that the proposed priming

 lien amounts to a sub rosa plan.”).7

         14.        The Debtors acknowledge as much, explaining in the DIP Motion that “the Exit

 DIP New Money Facility shall receive approximately eighty percent of the equity interests in the

 Reorganized Debtors at emergence.”          DIP Motion ¶ 21.      Conspicuously omitted from this

 disclosure, however, is that the New Money DIP Lenders are also slated to receive a “DIP New

 Money Initial Commitment Premium” equal to an additional 10% of the Reorganized Debtors’

 equity. See ECF No. 1818 at 20 n.14. Thus, the Exit DIP New Money Facility will, if approved,

 actually authorize the transfer of 90% of the equity of Reorganized WeWork to the DIP New

 Money Lenders in exchange for $400 million—the centerpiece of the Debtors’ Plan. 8


 7
     While perhaps just another example of a “boilerplate” provision, for this reason, paragraph 19
     of the Proposed Interim Order must be stricken. That “Limitation of Liability” paragraph can
     only be reserved for true third-party lenders, and not for the very institutions who indisputably
     will be controlling shareholders under the terms of the Exit DIP New Money Facility.
 8
     Although this initial equity allocation is subject to dilution, the extent of the dilution is opaque
     and has not been adequately explained by the Debtors. Regardless, it is clear that the DIP New
     Money Lenders (including Yardi/Cupar) will retain a controlling stake of the Company, even

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         15.        Far from merely providing financing to the Debtors to fund their chapter 11 cases,

 the DIP New Money Exit Facility will lock in the very outcome that the DIP New Money Lenders

 hope to achieve through confirmation of the Plan: the purchase of WeWork at a massive 42%

 discount to the equity value estimated by the Debtors’ own investment banker. Pursuant to the

 DIP New Money Exit Facility, the DIP New Money Lenders will obtain a 90% stake in WeWork

 for $400 million, for a total implied equity value of $444.4 million. That valuation is $320.6

 million less than the $765 million midpoint equity value estimated by PJT Partners, see ECF No.

 1706 at 2, implying a discount of 41.9%.9

         16.        The DIP New Money Exit Facility, if approved, will thus irrevocably dictate the

 ownership and control of the Debtors following their emergence from bankruptcy and will insulate

 the defining feature of the Debtors’ Plan from scrutiny. The rule against sub rosa plans of

 reorganization exists precisely to prevent such an outcome. See, e.g., In re SAS AB, 644 B.R. 267,

 271-72 (Bankr. S.D.N.Y. 2022) (“[I]t is very clear that decisions about the issuance of equity in

 the reorganized debtors should be reserved for the plan process.”); Latam Airlines, 620 B.R. at 819

 (“[T]he Tranche C DIP Facility necessarily determines plan terms giving the Debtors the right to

 distribute equity in the reorganized Debtors to the Tranche C Lenders – at a 20% discount to fair

 value – that will not be subject to court review. That ‘short circuits’ the chapter 11 review process

 under the Bankruptcy Code, by establishing plan terms sub rosa in the Tranche C DIP Facility.”);



     after taking dilution into account. See, e.g., ECF No. 1818 at 36-37 (noting that the “Corporate
     Governance Term Sheet . . . shall be subject to the consent of the Required Consenting
     Stakeholders”). The “Required Consenting Stakeholders” are “the SoftBank Parties, Cupar,
     and the Required Consenting AHG Noteholders.” ECF No. 1816 at 25.
 9
     Before last week’s hearing to conditionally approve the Debtors’ Disclosure Statement, the
     amount of the DIP New Money Initial Commitment Premium had not been disclosed. See ECF
     No. 1757 at 12. Based on the information available at the time of the hearing, the Flow Group
     believed the discount to be a “mere” 34.6%.

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 In re McClure, 2015 WL 1607365, at *8 (Bankr. C.D. Cal. Apr. 2, 2015) (“[T]he sale of

 substantially all of the debtor’s assets in and of itself may be considered a sub rosa plan.”); In re

 Belk Props., LLC, 421 B.R. 221, 225-26 (Bankr. N.D. Miss. 2009) (concluding that financing

 proposal in which a putative lender would obtain between 51% and 90% of the Debtors’ equity

 was an improper sub rosa plan).

           17.      The Debtors cannot escape the requirements of section 1129 of the Bankruptcy

 Code by selling substantially all of their post-reorganization equity under the false pretense of

 seeking “DIP” financing 23 days prior to the confirmation hearing. For this independent reason,

 because the DIP New Money Exit Facility would, if approved, substantially dictate the terms of

 the Debtors’ Plan, the Court should deny the DIP Motion as to that facility.

 III.      The Role Of Insiders/Potential Insiders Requires A Market-Check

           18.      Such a disguised sale is particularly concerning here as there can no longer be any

 dispute as to the close relationships among the Debtors and the parties purchasing or ultimately

 holding the controlling interests in the Reorganized Debtors. The vast majority of the so-called

 “DIP New Money Loans” is being provided by Cupar, a potential insider of the Debtors 10 as an


 10
        While relevant facts are only now beginning to be revealed, others are likely to come to the
        surface and, thus, it bears emphasizing that the Third Circuit has set forth the criteria of when
        parties may be considered an “insider” for Bankruptcy Code purposes: “[I]t is not necessary
        that a non-statutory insider have actual control; rather, the question ‘is whether there is a close
        relationship between debtor and creditor and anything other than closeness to suggest that any
        transactions were not conducted at arm’s length.’” In re Winstar Commc’ns, Inc., 554 F.3d
        382, 396-97 (3d Cir. 2009) (quoting In re U.S. Med., 531 F.3d 1272, 1277 (10th Cir. 2008))
        (brackets and alterations omitted); see S. Rep. No. 95-989, at 25 (1978), reprinted in 1978
        U.S.C.C.A.N. 5787, 5810 (“An insider is one who has a sufficiently close relationship with the
        debtor that his conduct is made subject to closer scrutiny than those dealing at arm’s length
        with the debtor.”); see also In re Miller Homes, LLC, 2009 WL 4430267, at *6 (Bankr. D.N.J.
        Nov. 25, 2009) (“The Bankruptcy Code’s concern is whether a person is able to exert influence
        over a debtor so as to gain a more favorable position.”) (quoting In re Grumman Olson Indus.,
        Inc., 329 B.R. 411, 428 (Bankr. S.D.N.Y. 2005)) (internal quotation marks omitted); In re
        Foothills of Tex., Inc., 408 B.R. 573, 579 (Bankr. D. Del. 2009) (“The Third Circuit’s focus of
        inquiry is in accord with the plain meaning of insider‘a person who is within some society,

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 affiliate of the Debtors’ existing operating partner Yardi and large holder of first lien claims, see

 Apr. 23, 2024 Hr’g Tr. at 6:2-3, which will initially receive 60% of the New Interests. And while

 the SoftBank Parties, the Debtors’ prepetition equity sponsor, one of its largest lenders and an

 undeniable insider, will not only receive some equity on account of its outstanding first lien claims,

 they will also have the opportunity both to obtain additional New Interests by immediately

 equitizing the drawn letters of credit for which they posted collateral and obtain further New

 Interests as the remaining letters of credit for which they posted collateral are drawn in the future.

 And worse, it still appears under the RSA11 and the Plan that the SoftBank Parties will be the only

 holders of existing equity interests to retain such interests in clear violation of the absolute priority

 rule. See ECF No. 1818 at 86 (stating that the RSA Transactions contemplate, among other things,

 “the cancelation of all other indebtedness and preexisting equity Interests in the Reorganized

 Company, as further set forth in the RSA (other than any equity Interests held by the SoftBank

 Parties with respect to which, pursuant to the Plan and as agreed by the Parties to the RSA, a

 SoftBank Party contributes its Claims in exchange for the retention of its equity interests)”). 12

          19.       Therefore, under the circumstances, the DIP New Money Facilities and the Plan

 raise significant questions regarding the confirmability of the Plan because of the Debtors’ decision

 to impermissibly offer certain parties, including insiders, the exclusive opportunity to purchase



      organization, etc.; a person who is party to a secret, esp. so as to gain an unfair advantage.’”)
      (quoting I Shorter Oxford English Dictionary 1394).
 11
      While the DIP Motion references an “Amended RSA,” no such Amended RSA has been filed.
 12
      The Court cannot accept the Debtors’ representation that SoftBank will retain its interests
      solely on account of its contributed claims at face value. The Plan violates the absolute priority
      rule to the extent that SoftBank’s extant equity interests played any role in its ability to retain
      those interests under the Plan. See In re DBSD N. Am., Inc., 634 F.3d 79, 96 (2d Cir. 2011)
      (“[A] transfer partly on account of factors other than the prior interest is still partly ‘on account
      of’ that interest. . . . [R]eceipt of property partly on account of the existing interest [is] enough
      for the absolute priority rule to bar confirmation of the plan.”).

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 New Interests in the Reorganized Debtors without first market-testing such interests. See Bank of

 Am. Nat’l Tr. & Sav. Assoc. v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 458 (1990) (holding that a

 plan violated the absolute priority rule when it provided “junior interest holders with exclusive

 opportunities free from competition and without benefit of market valuation”). Further, given the

 appearance of a partnership or joint venture between Yardi and the SoftBank Parties to obtain

 control of Reorganized WeWork, the DIP Motion and the Plan raise not only issues under LaSalle

 but also questions as to the adequacy of the disclosures and whether the Plan can be confirmed

 under, among others, Bankruptcy Code sections 1129(a)(1)-(3) and (5). 13

 IV.      The Debtors Have Not Provided Sufficient Notice

          20.       Finally, the Court should deny the DIP Motion because the Debtors have not

 provided sufficient notice of the DIP New Money Facilities’ terms as required by the Bankruptcy

 Rules and the Local Rules. Bankruptcy Rule 4001(c)(1)(A) requires the Debtor to file “a copy of

 the credit agreement” together with its motion and proposed form of order. Fed. R. Bankr. P.

 4001(c)(1)(A). Similarly, Local Rule 4001-3 requires the Debtor to “summarize” the material

 provisions and “identify the location of each [such provision] in any relevant document.” Local

 R. 4001-3(c). The Debtors did not timely file a copy of the DIP New Money Documents, see DIP

 Motion Exs. 3(i)-(ii), and as such have not complied with the Bankruptcy Rules or the Local Rules.

          21.       What makes this worse is that the devil will be in the details. The DIP Motion

 makes 17 references to the “DIP New Money Documents,” yet the Debtors have failed to provide

 the Court or parties in interest with copies of those documents. At a minimum, this means that


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       The Flow Group reserves all rights to investigate the nature of the relationships among the
       Debtors, Cupar, Yardi, and the SoftBank Parties, as well as the insider nature of the
       transactions contemplated by the DIP Motion and the Plan and to raise any objections based
       on LaSalle and any disclosed and undisclosed relationships in connection with proceedings on
       confirmation of the Plan.

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 any interim order approving DIP financing in whatever amount can be proven to be “necessary to

 avoid immediate and irreparable harm to the estate pending a final hearing,” Fed. R. Bankr. P.

 4001(c)(2), must not include the approval of any “premium, fees, and interest,” DIP Motion ¶ 39,

 that are no doubt contained in documents that were not filed in accordance with the Bankruptcy

 Rules or Local Rules. Moreover, because the Debtors will not receive the proceeds of the DIP

 New Money Exit Facility until after they emerge from bankruptcy, no exigencies could possibly

 justify approval of the DIP New Money Exit Facility with inadequate notice—even on an

 interim basis.

                                            CONCLUSION

         22.        For the reasons set forth above, the Court should deny the DIP Motion.




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